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  1   ROB BONTA
      Attorney General of California
  2   R. MATTHEW WISE
      JOHN D. ECHEVERRIA
  3   Supervising Deputy Attorneys General
      KEVIN L. QUADE
  4   Deputy Attorney General
      State Bar No. 285197
  5    1300 I Street, Suite 125
       P.O. Box 944255
  6    Sacramento, CA 94244-2550
       Telephone: (916) 210-7693
  7    Fax: (916) 324-8835
       E-mail: Kevin.Quade@doj.ca.gov
  8   Attorneys for Defendant Attorney General
      Rob Bonta
  9
                       IN THE UNITED STATES DISTRICT COURT
 10
                   FOR THE SOUTHERN DISTRICT OF CALIFORNIA
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 13
 14   GARY R. SANCHEZ,                           24-cv-767-RSH-MSB
 15                                 Plaintiff, DEFENDANT’S MEMORANDUM
                                               OF POINTS AND AUTHORITIES
 16               v.                           IN SUPPORT OF MOTION TO
                                               DISMISS
 17
      ROB BONTA, in his official capacity        Date:              July 29, 2024
 18   as Attorney General of the State of
      California,                                Courtroom:         3B
 19                                              Judge:             The Honorable
                                  Defendant.                        Robert S. Huie
 20                                              Trial Date:        n/a
                                                 Action Filed:      April 29, 2024
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                               Defendant’s Memorandum of Points and Authorities in Support of
                                                  Motion to Dismiss (24-cv-767-RSH-MSB)
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   1                                    INTRODUCTION
   2        This lawsuit seeks to facially invalidate and permanently enjoin California’s
   3   longstanding statutory prohibition on the possession of firearm silencers. Plaintiff,
   4   proceeding in pro per, asserts that the prohibition, first enacted almost a century ago
   5   and now codified at California Penal Code section 33410, violates the Second
   6   Amendment. He alleges that silencers, as accessories to arms, are themselves arms
   7   deserving of constitutional protection, and that section 33410 is not relevantly
   8   similar to any historical regulation from the founding or Reconstruction eras. But
   9   Plaintiff’s claim cannot succeed. The one-page, conclusory complaint in this case
 10    fails to state a claim.
 11         Under the analytical framework articulated in New York State Rifle & Pistol
 12    Ass’n v. Bruen, 597 U.S. 1 (2022), the plaintiff bears the initial pleading burden to
 13    sufficiently allege that their proposed course of conduct is presumptively protected
 14    by the plain text of the Second Amendment. Id. at 24; B&L Prods., Inc. v.
 15    Newsom, __ F.4th __, 2024 WL 2927734, *8 (9th Cir. June 11, 2024). Where, as
 16    here, the plaintiff alleges that possession of a specific instrument is protected, the
 17    plaintiff must show that the device fits within the historical definition of the term
 18    “Arms,” but also that the device is commonly used for self-defense and is not a
 19    dangerous and unusual weapon for which categorical bans are permissible. Bruen,
 20    597 U.S. at 28, 32; District of Columbia v. Heller, 554 U.S. 570, 581, 622, 627
 21    (2008).
 22         The Complaint here fails every aspect of this threshold analysis. Plaintiff
 23    cannot plead that a firearm silencer is an “Arm” under the text of the Second
 24    Amendment, nor that it is a component integral to the functioning of a firearm such
 25    that it is necessary to effectuate the right to armed self-defense. This alone warrants
 26    dismissal. Yet the Complaint also fails to plead that silencers are commonly
 27    used—or indeed, that they have any utility—for ordinary self-defense; to the
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   1   contrary, silencers are dangerous and unusual when attached to a functioning
   2   firearm and thus fall outside the scope of the Second Amendment.
   3        Even if Plaintiff could sufficiently pled that silencers are presumptively
   4   protected by the Second Amendment, the State’s prohibition on these devices fits
   5   comfortably within our Nation’s well-established historical tradition of firearm
   6   regulation. From the time of the founding, through ratification of the Fourteenth
   7   Amendment, and into the 20th century, states have long exercised their police
   8   powers to restrict access to and use of certain exceedingly dangerous weapons that
   9   are prone to criminal misuse. Such historical limitations left open viable avenues
 10    for law-abiding persons to exercise their constitutional right to armed self-defense
 11    and have comported with the Second Amendment. Section 33410 follows that
 12    tradition, restricting possession of one particularly dangerous firearm accessory,
 13    while leaving Californians with a plethora of weapons with which to legally defend
 14    themselves. Accordingly, the Complaint fails to state a viable claim on which relief
 15    can be granted and should be dismissed without leave to amend.
 16                                      BACKGROUND
 17         Possession of a firearm silencer in California has been prohibited since 1933.
 18    See 1933 Cal. Stat., ch. 39, at 329-30. California Penal Code section 33410 states,
 19    “Any person, firm, or corporation who within this state possesses a silencer is
 20    guilty of a felony and upon conviction thereof shall be punished by imprisonment
 21    . . . or by a fine not to exceed ten thousand dollars ($10,000), or by both that fine
 22    and imprisonment.” A “silencer” is defined as “any device or attachment of any
 23    kind designed, used, or intended for use in silencing, diminishing, or muffling the
 24    report [i.e., sound of the discharge] of a firearm,” as well as “any combination of
 25    parts, designed or redesigned, and intended for use in assembling a silencer or
 26    fabricating a silencer and any part intended only for use in assembly or fabrication
 27    of a silencer.” Cal. Penal Code § 17210.
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   1        Plaintiff filed the Complaint on April 29, 2024. He alleges that section 33410
   2   violates the Second and Fourteenth Amendments to the United States Constitution
   3   on its face. ECF No. 1 at 2. He seeks a declaratory judgment to that effect, as well
   4   as an injunction against enforcement of section 33410 in its entirety. Id. In papers
   5   attached the Complaint, it appears that Plaintiff seeks to create and use a
   6   homemade, 3D-printed silencer. ECF No. 1 at 3. The proposed silencer, which
   7   Plaintiff unsuccessfully sought federal authorization to fabricate and register, is
   8   intended for use with 5.56 mm caliber rounds. Id. 1 The federal authorization was
   9   denied on the grounds that silencers are unlawful in California under state law.
 10    ECF No. 1 at 10.
 11                                    LEGAL STANDARD
 12         Under Federal Rule of Civil Procedure 12(b)(6), a complaint should be
 13    dismissed where it fails to state a claim for relief that is “‘plausible on its face.’”
 14    Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (quoting Bell Atl. Corp. v. Twombly,
 15    550 U.S. 544, 570 (2007)). A claim has facial plausibility when the plaintiff pleads
 16    factual content that allows the court to draw a reasonable inference that the
 17    defendant is liable for the misconduct alleged. Iqbal, 556 U.S. at 678. In other
 18    words, dismissal is appropriate where there is no cognizable legal theory or an
 19    absence of sufficient facts alleged to support a cognizable legal theory. Zamani v.
 20    Carnes, 491 F.3d 990, 996 (9th Cir. 2007).
 21         In considering a motion to dismiss, the Court must accept as true the factual
 22    allegations in the complaint, but not conclusory allegations, unwarranted factual
 23    deductions, or unreasonable inferences. Cholla Ready Mix, Inc. v. Civish, 382 F.3d
 24    969, 973 (9th Cir. 2004). Where, as here, a plaintiff asserts a facial challenge to a
 25    state law, they must “‘establish that no set of circumstances exists under which the
 26          1
              5.56 mm NATO rounds are commonly used with the M16 rifle (a fully
 27    automatic machinegun) and semiautomatic, assault-style rifles. See Wood v.
 28    Arnold, 321 F. Supp. 3d 565, 572 n.6 (D. Md. 2018).
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   1   [law] would be valid.’” United States v. Rahimi, 602 U.S. __, 2024 WL 3074728,
   2   at *6 (June 21, 2024) (quoting United States v. Salerno, 481 U.S. 739, 745 (1987));
   3   S.D. Myers, Inc. v. City & Cnty. of San Francisco, 253 F.3d 461, 467-68 (9th Cir.
   4   2001).
   5                                      ARGUMENT
   6        The Second Amendment “codified a pre-existing right.” Heller, 554 U.S. at
   7   592. “[L]ike most rights, the right secured by the Second Amendment is not
   8   unlimited.’” Bruen, 597 U.S. at 21 (quoting Heller, 554 U.S. at 626). The
   9   amendment has never been understood to confer an unfettered “right to keep and
 10    carry any weapon whatsoever,” and the Supreme Court has recognized that certain
 11    weapons and instruments “may be banned.” Heller, 554 U.S. at 626-27. The
 12    analytical framework recently announced in Bruen did not change that: the Court
 13    did not “decide anything about the kinds of weapons that people may possess.”
 14    Bruen, 597 U.S. at 72 (Alito, J., concurring).
 15         Under the Bruen framework, the standard for evaluating Second Amendment
 16    claims is “centered on constitutional text and history.” Bruen, 597 U.S. at 22. The
 17    initial inquiry is whether “the Constitution presumptively protects” the plaintiffs’
 18    purposed course of conduct. Id. at 24. If so, “[t]he government must then justify its
 19    regulation by demonstrating that it is consistent with the Nation’s historical
 20    tradition of firearm regulation.” Id. Here, application of the Bruen framework
 21    confirms that Plaintiff cannot plead a claim that California’s prohibition on the
 22    possession of silencers violates the Second Amendment at either stage of the Bruen
 23    analysis.
 24    I.   PLAINTIFF CANNOT ESTABLISH THAT SILENCERS ARE PRESUMPTIVELY
            PROTECTED BY THE SECOND AMENDMENT
 25
 26         The threshold question under Bruen is whether a plaintiff has carried their
 27    burden to establish that “the Constitution presumptively protects” their proposed
 28    course of conduct. Bruen, 597 U.S. at 24; B&L Prods., 2024 WL 2927734, at *8;
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   1   United States v. Perez-Garcia, 96 F.4th 1166, 1180 (9th Cir. 2024). To answer that
   2   question, the Court addresses whether “the Second Amendment’s plain text covers”
   3   the plaintiff’s proposed course of conduct. Bruen, 597 U.S. at 24. That inquiry
   4   considers “the normal and ordinary meaning of the Second Amendment” informed
   5   by its “historical background.” Id. at 20 (internal quotation marks omitted).
   6        Where a plaintiff contends that possession of a prohibited item is covered by
   7   the Second Amendment, they bear an initial burden to establish that the item fits
   8   within the definition of “Arm,” as that term was originally understood—either as a
   9   weapon itself or a component integral to operation of a weapon. Heller, 554 U.S. at
 10    581. Failure to do so is fatal to the constitutional claim. But even where a
 11    plaintiffs can meet that burden, the Supreme Court has emphasized that not every
 12    “type of weapon” is “eligible for Second Amendment protection.” Heller, 554 U.S.
 13    at 622. In determining what types of weapons fall within the scope of the Second
 14    Amendment at step one of the Bruen framework, the Supreme Court has clarified
 15    that only “weapons ‘in common use’ today for self-defense” are eligible for
 16    protection, Bruen, 597 U.S. at 32, while “‘dangerous and unusual weapons’” may
 17    be banned, Heller, 554 U.S. at 627. Thus, a plaintiff challenging an arms restriction
 18    must also show that “‘the weapon at issue is “in common use” today for self-
 19    defense.’” United States v. Alaniz, 69 F.4th 1124, 1128 (9th Cir. 2023) (quoting
 20    Bruen, 597 U.S. at 32).
 21         A.   Silencers Are Not “Arms”
 22         Under Bruen’s text-and-history standard, a silencer is not an “Arm[].”
 23    Although the meaning of the term “Arms” is broad, see Heller, 554 U.S. at 581, it
 24    is “fixed according to its historical understanding,” Bruen, 597 U.S. at 28. To that
 25    end, Heller explained that an instrument need not have existed at the time of the
 26    founding to fall within the scope of the Second Amendment, but it still must fit
 27    within the founding-era understanding of an “Arm[].” Heller, 554 U.S. at 581.
 28    Citing multiple dictionary definitions from the relevant time period, the Supreme
                                                5
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   1   Court has defined “Arms” as “‘[w]eapons of offence, or armour of defence,’” id.
   2   (quoting 1 Dictionary of the English Language 106 (4th ed.)), and “‘any thing that a
   3   man wears for his defence, or takes into his hands, or useth in wrath to cast at or
   4   strike another,’” id. (quoting 1 A New and Complete Law Dictionary). 2
   5        A firearm silencer falls outside that historical understanding of the term
   6   “Arms.” While the Complaint does not articulate a definition of silencers (or
   7   “suppressors,” as Plaintiff refers to them), the term “silencer” is defined by statute
   8   as “any device or attachment of any kind designed, used, or intended for use in
   9   silencing, diminishing, or muffling the report of a firearm.” Cal. Penal Code
 10    § 17210 (referencing Cal. Penal Code § 33410). Such a “device or attachment”
 11    necessarily cannot constitute an “Arm” within the meaning of the Second
 12    Amendment because it cannot be used to “cast at or strike another” and has no
 13    inherent usefulness as a weapon in the case of confrontation. Heller, 554 U.S. at
 14    581. A silencer has neither inherent offensive nor defensive capability, but rather,
 15    is a firearm accessory that has no intrinsic self-defense purpose. See United States
 16    v. Cox, 906 F.3d 1170, 1186 (10th Cir. 2018) (concluding that silencers are not
 17    “bearable arms” covered by the Second Amendment). 3
 18         Nor can Plaintiff establish that silencers are subsumed within the textual
 19    definition of “Arms” as a protected component integral to the operation of a
 20    firearm. The Ninth Circuit has explained that the Second Amendment “also
 21    protects ancillary rights necessary to the realization of the core right to possess a
 22
 23          2
               Expert evidence would also establish a textual difference between Arms
 24    and accoutrements during the founding era, further supporting the argument that
       silencers are not Arms. See, e.g., Capen v. Campbell, __F. Supp. 3d __, 2023 WL
 25    8851005, at *17 (D. Mass. Dec. 21, 2023). Defendant reserves the right to
 26    supplement the record concerning the historical understanding of the term “Arms.”
             3
               Plaintiff explicitly acknowledges that silencers are not themselves weapons,
 27
       but rather, accessories. ECF No. 1 at 2.
 28
                                                 6
                                   Defendant’s Memorandum of Points and Authorities in Support of
                                                      Motion to Dismiss (24-cv-767-RSH-MSB)
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   1   firearm for self-defense.” B&L Prods., 2024 WL 2927734, at *7 (quoting Teixeira
   2   v. Cnty. of Alameda, 873 F.3d 670, 677 (9th Cir. 2017) (en banc)). 4 “Ancillary
   3   rights are protected to the extent necessary to serve” the interest of keeping and
   4   bearing arms “‘for lawful purposes, most notably self-defense.’” B&L Prods., 2024
   5   WL 2927734, at *8 (quoting McDonald v. City of Chicago, 561 U.S. 742, 781
   6   (2010)). In some circumstances, courts have recognized an ancillary Second
   7   Amendment right to possess components that are necessary to the functioning of a
   8   firearm. See Miller, 307 U.S. at 180-82 (recognizing the implied right to possess
   9   ammunition); Fyock v. Sunnyvale, 779 F.3d 991, 998 (9th Cir. 2015) (recognizing
 10    “some corollary, albeit not unfettered, right to possess the magazines necessary to
 11    render . . . firearms operable”), abrogated on other grounds by Bruen, 597 U.S. 1.
 12    In contrast, accessories that are not necessary to operate a firearm for self-defense
 13    are not protected by the Second Amendment. See Cox, 906 F.3d at 1186.
 14         A silencer is “unnecessary to the essential operation of a firearm.” United
 15    States v. Berger, __ F. Supp. 3d __, 2024 WL 449247, at *14-17 (E.D. Pa. Feb. 6,
 16    2024). Instead, the device is designed only to muffle the byproduct of normal
 17    firearm operation after it has been discharged—namely, lessening the “report” or
 18    sound associated with discharging a firearm. See Cal. Penal Code § 17210. In
 19    other words, a silencer is simply not necessary to render a firearm operable or
 20    effectuate the right to armed self-defense.
 21         Accordingly, every federal court to address this issue—both before and after
 22    Bruen—has concluded that silencers are not protected by the Second Amendment,
 23    with the vast majority concluding that silencers do not constitute “Arms” under the
 24    plain constitutional text. See, e.g., Cox, 906 F.3d at 1186 (“[B]ecause silencers are
 25    not ‘bearable arms,’ they are outside the Second Amendment’s guarantee.”);
 26          4
                Although Teixeira was decided pre-Bruen, the Ninth Circuit has recognized
 27    that certain aspects of the decision “remain[] good law” post-Bruen. B&L Prods.,
 28    2024 WL 2927734, at *7 n.18.
                                                7
                                  Defendant’s Memorandum of Points and Authorities in Support of
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   1   Berger, 2024 WL 449247, at *14-17 (silencer not covered by text of Second
   2   Amendment “because it is merely an accessory which is unnecessary to the
   3   essential operation of a firearm”); Capen, 2023 WL 8851005, at *17 (“[S]ome
   4   accessories, such as silencers, do not affect the essential operation of a weapon and
   5   so do not fall within the scope of the Second Amendment’s protection.”); United
   6   States v. Peterson, 2023 WL 5383664, at *2 (E.D. La. Aug. 21, 2023) (“[S]ilencers
   7   are not bearable arms within the score of the Second Amendment even in light of
   8   Bruen or its progeny.”); United States v. Cooperman, 2023 WL 4762710, at *1
   9   (N.D. Ill. July 26, 2023) (“The plain text of the Second Amendment does not
 10    protect accessories that are not bearable arms, such as silencers.”); Cox v. United
 11    States, 2023 WL 4203261, at *7 (D. Alaska June 27, 2023) (“Silencers are firearms
 12    accessories and not ‘arms’ for purposes of Second Amendment Protection.”);
 13    United States v. Villalobos, 2023 WL 3044770, at *12 (D. Idaho Apr. 21, 2023)
 14    (“[S]ilencers are not bearable arms within the meaning of the Second Amendment
 15    and are not constitutionally protected.”); United States v. Saleem, 659 F. Supp. 3d
 16    683, 695 (W.D.N.C. 2023) (same); United States v. Al-Azhari, 2020 WL 7334512,
 17    at *3 (M.D. Fl. Dec. 14, 2020) (same); United States v. Hasson, 2019 WL 4573424,
 18    at *4 (D. Md. Sept. 20, 2019) (same). 5
 19         In the lone paragraph of allegations in the Complaint, Plaintiff asserts that
 20    “accessories for arms,” like silencers, “are arms themselves.” ECF No. 1 at 2. But
 21    no authority supports this proposition. Iqbal, 556 U.S. at 678; Starr v. Baca, 652
 22    F.3d 1202, 1216 (9th Cir. 2011) (conclusory statements are insufficient to state a
 23
             5
 24            See also Second Amendment Found., Inc. v. Bureau of Alcohol, Tobacco,
       Firearms and Explosives, __F. Supp. 3d __, 2023 WL 7490149, at *13 (N.D. Tex.
 25    Nov. 13, 2023) (rejecting Second Amendment challenge to regulation of stabilizing
 26    braces by comparing to silencers, which do not “implicate the Second Amendment
       because ‘a firearm remains an effective weapon without a silencer’”); Firearms
 27    Regul. Account. Coal., Inc. v. Garland, No. 23-cv-024, __F. Supp. 3d __, 2023 WL
 28    5942365, at *5 (D.N.D. Sept. 12, 2023) (same).
                                                8
                                  Defendant’s Memorandum of Points and Authorities in Support of
                                                     Motion to Dismiss (24-cv-767-RSH-MSB)
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   1   claim for relief). Indeed, Plaintiff’s conclusory allegation is belied by the text of
   2   the Second Amendment itself as well as the legion of cases reaching the opposite
   3   legal conclusion. Plaintiff does not (and cannot) allege that silencers are
   4   themselves capable of being used as a weapon or that they are integral to the
   5   functionality of a firearm for the purpose of self-defense.
   6        Plaintiff also attempts to compare silencers to accessories that “propagate” the
   7   constitutional right to free speech, like pens and computers. ECF No. 1 at 2. Even
   8   if Plaintiff were correct that the right to free speech encompasses a right to possess
   9   all instrumentalities of speech, his comparison to the Second Amendment context is
 10    inapt. While Plaintiff is correct that silencers are “accessories for arms,” they do
 11    not aid in making a firearm functional and are not necessary for a firearm to be used
 12    for purposes of armed self-defense.
 13         In short, at the threshold stage of the Bruen inquiry, silencers are simply not
 14    covered by the Second Amendment’s plain language or any ancillary right
 15    necessary for the realization of the right to armed self-defense. Because the
 16    possession of silencers is not presumptively protected by the text of the Second
 17    Amendment as a matter of law, “the analysis can stop there.” Bruen, 597 U.S. at 18
 18    (internal quotation marks and citation omitted).
 19         B.   Plaintiff Cannot Adequately Plead Facts Sufficient to
                 Demonstrate that Silencers Are In Common Use for Self
 20              Defense and Not Dangerous and Unusual
 21         Even if Plaintiff could establish that silencers qualify as “Arms” within the
 22    meaning of the constitutional text, he cannot carry his burden to adequately plead
 23    that such instruments are self-defense weapons that are “‘in common use’ today for
 24    self-defense” and are not, conversely, dangerous and unusual. See Bruen, 597 U.S.
 25    at 32; Heller, 554 U.S. at 627. On these additional, independent grounds, the
 26    Complaint fails to state a claim that the restrictions on silencers violate the Second
 27    Amendment.
 28
                                                 9
                                   Defendant’s Memorandum of Points and Authorities in Support of
                                                      Motion to Dismiss (24-cv-767-RSH-MSB)
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   1             1.    Common Use for Self-Defense
   2        The Supreme Court has emphasized that “individual self-defense is ‘the
   3   central component’ of the Second Amendment.” Bruen, 597 U.S. at 32. Courts
   4   must therefore assess whether a weapon is “‘in common use’ today for self-
   5   defense” in determining whether it is presumptively protected. Id.; see id. at 81
   6   (Kavanaugh, J., concurring) (emphasizing this “important limitation”); Heller, 554
   7   U.S. at 624. The Ninth Circuit has followed Bruen’s guidance in explaining that
   8   part of the “Bruen step one” inquiry is “whether the weapon at issue is ‘“in
   9   common use” today for self-defense.’” United States v. Alaniz, 69 F.4th 1124,
 10    1128 (9th Cir. 2023). 6
 11         In assessing common use for self-defense, the Supreme Court in Heller did not
 12    simply consider the prevalence of handguns (which was undisputed). Heller, 554
 13    U.S. at 629. Instead, it examined the objective features of a handgun to explain
 14    why it is a “self-defense weapon.” Id. The Court explained that handguns are
 15    “easier to store in a location that is readily accessible in an emergency” due to their
 16    small size. Id. They are also “easier to use for those without the upper-body
 17    strength to lift and aim a long gun”; they “can be pointed at a burglar with one hand
 18    while the other hand dials the police”; and they “cannot easily be redirected or
 19    wrestled away by an attacker.” Id. In the same opinion, the Court recognized that
 20    some types of weapons fall outside the scope of the Second Amendment—“such as
 21    short-barreled shotguns,” and “M-16 rifles and the like”—without any discussion of
 22    their popularity or prevalence. Id. at 625, 627. Thus, what mattered to the Court
 23    was an “examin[ation]” of “the character of the weapon.” Id. at 622; see id. at 623
 24
             6
               A different panel in the Ninth Circuit recently suggested that “presumptive
 25    protections of the Second Amendment may be rebutted as to arms not in common
       use today for self-defense.” Perez-Garcia, 96 F.4th at 1181 (internal quotation
 26    marks omitted). To the extent that passage might be interpreted to require the
       government to prove that a particular weapon is not in common use for self-
 27    defense, it would be non-binding dicta in conflict with Alaniz and Bruen, both of
       which extended presumptive protection only if the weapon at issue is in common
 28    use for self-defense.                    10
                                   Defendant’s Memorandum of Points and Authorities in Support of
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   1   (“[T]he Second Amendment right, whatever its nature, extends only to certain types
   2   of weapons.”).
   3        The Complaint here does not speak to pertinent characteristics of a silencer.
   4   Nor does Plaintiff allege that silencers are commonly owned or that they are used
   5   for “ordinary self-defense needs.” Bruen, 597 U.S. at 60. Indeed, as explained
   6   above, Plaintiff cannot establish that silencers, as defined by California law, are
   7   themselves weapons or that they have any utility for armed self-defense. A silencer
   8   is an accessory that can be attached to an otherwise operable firearm to muffle the
   9   sound associated with discharge. See Cal. Penal Code § 17210. By definition, such
 10    an instrument has no more inherent utility for self-defense than any other of the
 11    countless objects that do not qualify for Second Amendment protection.
 12         In the only allegation that concerns how silencers are used, Plaintiff asserts in
 13    conclusory terms that the devices are “overwhelmingly used by law abiding citizens
 14    for lawful purposes.” ECF No. 1 at 2. But he does not include any allegations
 15    about the prevalence of these devices or their “character” to allege that they are
 16    entitled to Second Amendment protection. See Heller, 554 U.S. at 622. Indeed,
 17    even if Plaintiff had pled that firearm silencers have specific lawful utilities like
 18    noise abatement or hearing protection (and he did not), “‘the Second Amendment
 19    does not elevate convenience and preference over all other considerations.’” B&L
 20    Prods., 2024 WL 2927734, at *8 (quoting Teixeira, 873 F.3d at 680); see Or.
 21    Firearms Fed’n v. Kotek, 682 F. Supp. 3d 874, 916 (D. Or. 2023) (explaining why
 22    subjective intent is not sufficient to establish common use for self-defense). The
 23    Second Amendment right is grounded in armed self-defense. Bruen, 597 U.S. at
 24    32; Alaniz, 69 F.4th at 1128. That an instrument like a silencer could be used for
 25    lawful purposes, including even, theoretically, self-defense, does not establish that
 26    silencers are in common use for “ordinary self-defense.” Bruen, 597 U.S. at 60; Or.
 27    Firearms Fed’n, 682 F. Supp. 3d at 919 (“This Court reads the qualifier of
 28
                                                 11
                                   Defendant’s Memorandum of Points and Authorities in Support of
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   1   ‘ordinary self-defense needs’ to include some consideration of how and why
   2   firearms or firearm accessories are actually used in typical self-defense scenarios.”).
   3             2.   Dangerous and Unusual
   4        The Complaint also fails to state a claim because silencers are a type of
   5   “dangerous and unusual” weapon that the Supreme Court has held may be banned.
   6   See Bruen, 597 U.S. at 21; Heller, 554 U.S. at 627. Such weapons “fall outside of
   7   the Second Amendment’s protections” at the threshold stage of the Bruen inquiry.
   8   Or. Firearms Fed’n, 682 F. Supp. 3d at 922 (citing Bruen, 597 U.S. at 21); see
   9   NAGR, 685 F. Supp. 3d at 91 (conducting “dangerous and unusual” inquiry at
 10    Bruen step one); see also Heller, 554 U.S. at 627 (discussing “dangerous and
 11    unusual” principle as part of its threshold discussion of what “sorts of weapons
 12    [are] protected” by the Second Amendment).
 13         The phrase “dangerous and unusual” in describing this historical tradition is a
 14    hendiadys: a rhetorical device where “two terms separated by a conjunction work
 15    together as a single complex expression.” Bray, “Necessary and Proper” and
 16    “Cruel and Unusual”: Hendiadys in the Constitution, 102 Va. L. Rev. 687, 688
 17    (2016). In “dangerous and unusual,” “unusual” conveys some heightened “level of
 18    lethality or capacity for injury” that makes a particular type of weapon “especially
 19    dangerous,” Nat’l Ass’n for Gun Rights v. Lamont (NAGR), 685 F. Supp. 3d 63, 90
 20    (D. Conn. 2023), not a numerical limit that bars prohibitions on a weapon as soon
 21    as a minimum number are in circulation. Silencers are “dangerous and unusual”
 22    devices that fall outside the scope of the Second Amendment. United States v.
 23    McCartney, 357 F. App’x 73, 76 (9th Cir. 2009); United States v. Comeaux, 2024
 24    WL 115929, at *3 (W.D. La. Jan. 10, 2024).7
 25
 26
             7
                Even if the “dangerous and unusual” inquiry requires a separate showing
       that the weapon in question is not “commonly possessed,” Fyock, 779 F.3d at 997,
 27    Plaintiff here has not alleged that silencers are commonly possessed by law-abiding
 28    citizens for ordinary self-defense. Supra pp. 10-11.
                                                12
                                  Defendant’s Memorandum of Points and Authorities in Support of
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   1        Plaintiff makes no attempt to disclaim the dangerous and unusual nature of
   2   silencers. As noted, he alleges that silencers are “overwhelmingly used by law
   3   abiding citizens for lawful purposes.” ECF No. 1 at 2. But the fact that a weapon
   4   (or here, an accessory to a weapon) might be used for lawful purposes says nothing
   5   about whether the device has a heightened capacity for dangerousness. Indeed,
   6   several courts have recognized that silencers are indeed dangerous and unusual, and
   7   thus undeserving of constitutional protection. See, e.g., McCartney, 357 F. App’x
   8   at 76 (silencers fit within category of unusually dangerous weapons); Comeaux,
   9   2024 WL 115929, at *3 (various devices, including silencers, have “the potential to
 10    substantially increase the level of violence when used in connection with criminal
 11    activity”); United States v. Grey, 2018 WL 4403979, at *13 (C.D. Cal. Sept. 13,
 12    2018) (“[T]he Second Amendment does not extend to ‘dangerous and unusual
 13    weapons’ such as silencers.”); United States v. Perkins, 2008 WL 4372821, at *4
 14    (D. Neb. Sept. 23, 2008) (similar); see also Perez-Garcia, 96 F.4th at 1180 (“The
 15    Second Amendment may not protect [the] right to bear or keep ‘dangerous and
 16    unusual weapons,’ which might include ghost guns or silencers or armor-piercing
 17    ammunition.”).
 18         As each of these courts have recognized, the function of a silencer—
 19    “silencing, diminishing, or muffling the report of a firearm,” Cal. Penal Code
 20    § 17210—increases the device’s capability for lethality. As one court explained, a
 21    silencer “has the potential to allow a criminal to fire more shots without detection,
 22    avoid apprehension after shooting someone, or both.” Comeaux, 2024 WL 115929,
 23    at *3. Where the sound of gunshots is muffled by a silencer, common sense
 24    dictates that it is necessarily more difficult to identify the location of a shooter,
 25    which in turn, makes it more difficult for potential victims to flee and for law
 26    enforcement to neutralize the danger. Due to these characteristics, silencers have
 27    been heavily regulated at the federal and state levels since the 1930s. See infra
 28    pp. 19-20. Given their innate characteristics, silencers are dangerous and unusual
                                                  13
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   1   items that are not covered by the Second Amendment’s text, and thus Plaintiff
   2   cannot state a viable Second Amendment claim.
   3   II.   CALIFORNIA’S PROHIBITION ON SILENCERS IS CONSISTENT WITH THIS
             NATION’S HISTORY AND TRADITION OF FIREARMS REGULATION
   4
   5         Even if Plaintiff could satisfy his burden at the first stage of the Bruen inquiry
   6   to adequately allege that silencers are presumptively protected by the Second
   7   Amendment, California’s prohibition on silencers is consistent with “the historical
   8   tradition that delimits the outer bounds of the right to keep and bear arms.” Bruen,
   9   597 U.S. at 19. In conducting this “analogical inquiry”—at step two of the Bruen
 10    framework—a prior regulation identified by the government “must comport with
 11    the principles underlying the Second Amendment, but it need not be a ‘dead ringer’
 12    or a ‘historical twin.’” Rahimi, 2024 WL 3074728, at *6 (quoting Bruen, 597 U.S.
 13    at 29-30). Modern laws that are “relevantly similar” to historical regulations, in the
 14    sense that they “impose a comparable burden on the right of armed self-defense”
 15    that “is comparably justified,” are constitutional. Bruen, 597 U.S. at 29. 8 And
 16    when a challenged law addresses either “unprecedented societal concerns or
 17    dramatic technological changes,” a “more nuanced approach” is needed because
 18    “[t]he regulatory challenges” of today would not be “the same as those that
 19    preoccupied the Founders in 1791 or the Reconstruction generation in 1868.” Id. at
 20    27-28.
 21          Here, even a cursory review of the historical record reveals that California’s
 22    ban on silencers fits well within the Nation’s regulatory tradition. 9 Governments
 23           8
                The historical analogues discussed in this motion are not comprehensive,
 24    and Defendant reserves the right to supplement this historical record for purposes of
       a step-two analysis. In many cases, States have relied on historical experts to
 25
       canvass laws that serve as relevant analogues. But the historical laws themselves
 26    are not adjudicative facts and this Court may consider them in evaluating whether
       Plaintiff could plausibly state a claim for relief.
 27
              9
                  As addressed above and acknowledged by Plaintiff, see ECF No. 1 at 2, this
 28
                                                  14
                                    Defendant’s Memorandum of Points and Authorities in Support of
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   1   have long adopted historical regulations that either curtail use or outright ban
   2   possession of particular weapons and accessories, where the weapon poses a
   3   heightened danger to society, so long as the restriction did not destroy the right to
   4   armed self-defense by leaving available other weapons for constitutionally
   5   protected uses. 10
   6        In ratifying the Second Amendment, the founding generation “codified a right
   7   inherited from our English ancestors.” Bruen, 597 U.S. at 20 (quoting Heller, 554
   8   U.S. at 599). That “pre-existing right” was “not unlimited.” Id. at 20-21 (quoting
   9   Heller, 554 U.S. at 592, 626). As Blackstone described it, the right was understood
 10    as “a public allowance”—subject to “due restrictions” necessary to protect the
 11    peace. 1 Blackstone, Commentaries on the Laws of England 139 (1769).11 The
 12    English Bill of Rights—“the predecessor to our Second Amendment”—guaranteed
 13    a right for certain subjects to “‘have Arms for their Defence suitable to their
 14    Conditions, and as allowed by Law.’” Heller, 554 U.S. at 593 (quoting 1 Wm. &
 15    case concerns a firearm accessory, not a weapon. In conducting Bruen’s
 16    “analogical inquiry,” where the Nation’s historical tradition shows a robust state
       police power to limit or ban dangerous and unusual weapons, it necessarily follows
 17    that a state may also, consistent with the Second Amendment, ban an accessory that
 18    enhances the lethality of a firearm or renders it prone to criminal misuse.
 19
             10
                 See John Forrest Dillon, The Right to Keep and Bear Arms for Public and
       Private Defence, 1 Cent. L. J. 259, 285 (1874) (“It would seem to follow that while
 20    society may regulate this right . . . so as to promote the safety and good of its
 21    members, yet any law which should attempt to take it away, or materially abridge it,
       would be the grossest and odious form of tyranny.”); id. at 287 (“On the one hand .
 22    . . society cannot justly require the individual to surrender and lay aside the means
 23    of self-protection in seasons of personal danger . . . . On the other hand, the peace
       of society and the safety of peaceable citizens plead loudly for protection against
 24    the evils which result from permitting other citizens to go armed with dangerous
 25    weapons, and the utmost that the law can hope to do is to strike some sort of
       balance between these apparently conflicting rights.”).
 26          11
               See also United States v. Wood, 299 U.S. 123, 138 (1936) (“Undoubtedly,
 27    as we have frequently said, the framers of the Constitution were familiar with
 28    Blackstone’s Commentaries.”).
                                                 15
                                   Defendant’s Memorandum of Points and Authorities in Support of
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   1   Mary, ch. 2, § 7 (1689)) (emphasis added); see also 1 Blackstone, Commentaries
   2   139. The phrase “as allowed by law” authorized governments to “restrain the use
   3   of some particular sort of arms.” Sharp, Tracts, Concerning the Ancient and Only
   4   True Legal Means of National Defence, by a Free Militia 17-18 (1782).
   5        For example, the Crown banned possession of especially dangerous weapons
   6   like launcegays, pocket pistols, and crossbows to preserve the public order. Bruen,
   7   597 U.S. at 41-42; see, e.g., 7 Rich. 2, ch. 13 (1383); 33 Hen. 8, ch. 6, §§ 1-2, 18
   8   (1541). The focus on launcegays in medieval England “ma[de] sense” given that
   9   “lances were generally worn or carried only when one intended to engage in lawful
 10    combat or—as most early violations of the Statute [of Northampton] show—to
 11    breach the peace.” Bruen, 597 U.S. at 41. And Henry VIII’s ban on crossbows and
 12    pocket pistols sought “to protect the public” from the proliferation of those
 13    weapons and their use in “detestable and shameful murders, robberies, felonies, riot
 14    and route.” Schwoerer, Gun Culture in Early Modern England 59 (2016) (internal
 15    quotation marks omitted); see also id. at 55 (noting Henry VIII’s concern with “the
 16    newfangled and wanton pleasure that men now have in using of crossbows and
 17    handguns” (cleaned up)).
 18         That English tradition continued in America throughout each of the periods
 19    that Bruen identified as relevant to its historical inquiry. See Bruen, 597 U.S. at 46-
 20    70. Colonial and state governments imposed regulations on firearms hardware,
 21    accessories, and other weapons deemed to pose threats to public safety at the time.
 22    During the colonial and founding era, most violent crimes were committed with
 23    weapons such as clubs, dirks, and daggers. See Bevis v. City of Naperville (Bevis I),
 24    657 F. Supp. 3d 1052, 1070 (N.D. Ill. 2023) (“As early guns proved unreliable,
 25    many citizens resorted to clubs and other blunt weapons.”).12 States and colonies
 26          12
               During the colonial and founding period, governments also heavily
 27    regulated certain firearms and firearm accessories when those items posed
       heightened dangers to public safety. In 1771, for instance, New Jersey prohibited
 28
                                                 16
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   1   “responded to the proliferation of these weapons.” Id. In 1686, for example, after a
   2   period of internal “strife and excitement,” Bruen, 597 U.S. at 48 (internal quotation
   3   marks omitted), East New Jersey prohibited the concealed carrying of “pocket
   4   pistol[s], skeins, stilladers, daggers or dirks, or other unusual or unlawful weapons,”
   5   An Act Against Wearing Swords (1686), reprinted in The Grants, Concessions, and
   6   Original Constitutions of the Province of New Jersey 289-290 (1881). Other
   7   colonies and early States prohibited the carrying of clubs and similar weapons
   8   increasingly used as fighting instruments. See Bevis I, 657 F. Supp. 3d at 1070
   9   (detailing restrictions). 13 The Conductor Generalis—a founding-era guide for
 10    justices of the peace, sheriffs, and constables that relied heavily on the 1791 treatise
 11    of William Hawkins on English law—provided that the public offense of an
 12    “affray” could be committed “where there is no actual violence,” such as “where a
 13    man arms himself with dangerous and unusual weapons, in such a manner as will
 14    naturally cause a terror to the people.”14
 15
       the keeping of firearms configured as trap guns, which used string or wire so that a
 16
       loaded firearm would discharge automatically when a trap was sprung. See 1763-
 17    1775 N.J. Laws 346, ch. 539, § 10 (“Penalty for setting loaded Guns”). That “most
       dangerous” (id.) weapon configuration “[i]nevitably . . . wound up hurting or killing
 18
       innocent[]” bystanders who set off the trap. Robert J. Spitzer, Understanding Gun
 19    Law History After Bruen: Moving Forward by Looking Back, 51 Fordham Urb. L.J.
       57, 101 (2023). Colonies and early States also heavily regulated gunpowder by
 20
       limiting the quantity that could be kept and imposing storage requirements to
 21    promote public safety. See Or. Firearms Fed’n, 682 F. Supp. 3d at 929; e.g., 1772
       N.Y. Laws at 683.
 22
             13
                See, e.g., 1750 Mass. Acts 544, ch. 17, § 1 (prohibited the carry of “clubs
 23    or other weapons” in a group of 12 or more); 1786 Mass. Acts 87, ch. 38 (same);
 24    1788-1801 Ohio Laws 321, 323 (prohibited the carry of any “dangerous weapon”
       while committing a burglary); An Act to Describe, Apprehend and Punish
 25
       Disorderly Persons § 2 (1799), reprinted in Laws of the State of New Jersey 474
 26    (Nettleton ed., 1821) (prohibited the carry of any pistol, hanger, cutlass, bludgeon,
       or other “offensive weapon” with intent to commit assault).
 27
             14
                  The Conductor Generalis: Or, the Office, Duty, and Authority of Justices
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                                                 17
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   1        Similar restrictions on particularly dangerous weapons and devices existed
   2   during the antebellum and postbellum period, around the time that the Fourteenth
   3   Amendment was ratified. As explained in one of the most important early
   4   American firearms cases, State v. Reid, 1 Ala. 612 (1840), the Second Amendment
   5   left “with the Legislature the authority to adopt such regulations of police, as may
   6   be dictated by the safety of the people and the advancement of public morals.” Id.
   7   at 616. The Supreme Court in Bruen recognized as much, citing the Arkansas
   8   Supreme Court’s approval of a state law (modeled on an earlier approach taken in
   9   Tennessee) that prohibited public carry of handguns broadly based on their
 10    dangerousness, while reserving an explicit exception that allowed for carry of
 11    military-style revolvers. Bruen, 597 U.S. at 53 n.20 (citing Fife v. State, 31 Ark.
 12    455 (1876)). This era also saw widespread limitations on the carry and possession
 13    of particular “melee weapons” as they became prevalent and imperiled public safety
 14    due their unique dangerousness. Del. State Sportsmen’s Ass’n v. Del. Dep’t of
 15    Safety & Homeland Sec. (DSSA), 664 F. Supp. 3d 584, 600-01 (D. Del. 2023). For
 16    example, among other melee weapons regulated during the nineteenth century,
 17    States heavily regulated the sale and possession of slungshots—hand-held impact
 18    weapons with a weighted object at the end of a flexible strap. New York and
 19    Vermont passed laws in 1849 prohibiting the manufacture, sale, and possession of
 20    slungshots.15 Massachusetts banned the manufacture or sale of slungshots in 1850,
 21
 22
 23
 24
       of the Peace, High-Sheriffs, Under-Sheriffs, Coroners, Constables, Gaolers, Jury-
 25    Men, and Overseers of the Poor, and also The Office of Clerks of Assize, and of the
 26    Peace, & c. Albany, 1794, at 26.
             15
               1849 N.Y. Laws 403-404, ch. 278, §§ 1-2; 1849 Vt. Acts & Resolves 26,
 27
       No. 36, §§ 1-2.
 28
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                                  Defendant’s Memorandum of Points and Authorities in Support of
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   1   followed by Kentucky in 1855, Florida in 1868, and the Dakota Territory in 1877.16
   2   Illinois banned the possession and sale of slungshots in 1881.17
   3          Another melee weapon that that rose to prominence during this period was the
   4   “Bowie knife,” a weapon used by Jim Bowie in a duel in 1827 that became
   5   widespread in the 1830s. See DSSA, 664 F. Supp. 3d at 600. The Bowie knife
   6   “gained notoriety as a ‘fighting knife.’” Bevis I, 657 F. Supp. 3d at 1068; see also
   7   Or. Firearms Fed’n, 682 F. Supp. 3d at 930-31. By 1840, at least five States or
   8   territories had enacted laws restricting the carrying of Bowie knives or other
   9   fighting knives. Bevis I, 657 F. Supp. 3d at 1068-69. A 1837 Georgia law made it
 10    unlawful “to sell, or offer to sell” a “Bowie” knife, “or to keep, or have [such a
 11    knife] about their person or elsewhere.”18 Other laws substantially restricted the
 12    use of Bowie knives, such as a Tennessee law that banned their sale, and an
 13    Alabama law that taxed them at a prohibitive rate. 19 Nearly every State enacted a
 14    law restricting Bowie knives by the end of the nineteenth century, whether by
 15
 16
               16
                 1850 Mass. Gen. Stat. ch. 194, § 2; 1855 Ky. Acts 96, ch. 636, § 1; 1868
       Fla. Stat., ch. 1637, reprinted in Blount et al., The Revised Statutes of the State of
 17    Florida 783, tit. 2, art. 5, § 2425 (1892); 1877 N.D. Laws 794, § 455.
 18            17
                    1881 Ill. Laws 73, § 1.
 19            18
                 1837 Ga. Acts 90, § 1. Although the George Supreme Court held that the
       law’s carry restrictions as to pistols violated the Second Amendment in Nunn v.
 20
       State, 1 Ga. 243 (1846), “Nunn did not concern, let alone mention, the law’s
 21    separate prohibition addressing the sale of weapons; nor did it reach beyond
       ‘pistols’ to address dangerous-and-unusual weapons like bowie knives. Therefore,
 22
       this separate clause of the Georgia law remains a valid analogue to modern-day
 23    regulations on modern-day dangerous-and-unusual weapons.” Rupp v. Bonta, 2024
 24    WL 1142061, at *24 (C.D. Cal. Mar. 15, 2024); see also Hill v. State, 53 Ga. 472
       (1874) (disagreeing with Nunn and concluding that pocket pistols, dirks, Bowie-
 25    knives, and “those other weapons of like character” fall outside the scope of the
 26    right to keep and bear arms).
               19
                    See 1837-1838 Tenn. Pub. Act 200, ch. 137, § 1; 1837 Ala. Acts 7, No. 11,
 27
       § 2.
 28
                                                    19
                                      Defendant’s Memorandum of Points and Authorities in Support of
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   1   outlawing their possession, carry, or sale; enhancing criminal penalties; or taxing
   2   their ownership. See Bevis I, 657 F. Supp. 3d at 1069; DSSA, 664 F. Supp. 3d at
   3   601-602 (Bowie knife regulations were “extensive and ubiquitous” after such
   4   knives “proliferated in civil society” (internal quotation marks omitted)).
   5        As new technologies developed, twentieth century laws continued this
   6   historical tradition of restricting access to particular weapons and accessories with
   7   heightened lethality. 20 As to silencers specifically, the historical record indicates
   8   that such devices were considered particularly dangerous from the outset of their
   9   invention. As the court in Comeaux recounted, states began to ban their sale or
 10    possession shortly after they were patented in 1908. Comeaux, 2024 WL 115929,
 11    at *3; see, e.g., 1909 Me. L., ch. 129, p. 141; 1912 Vt. Acts & Resolves, No. 237, p.
 12    310; 1913 Minn. L., ch. 64, p. 55; 1927 Mich. Pub. Acts, No. 372, pp. 888-89; 1927
 13    R.I. Pub. L., ch. 1052, p. 259. California followed suit in 1933, enacting the
 14    predecessor to the ban now challenged in this lawsuit. See 1933 Cal. Stat., ch. 39,
 15    pp. 329-30. By the time the National Firearms Act was enacted in 1934—a law
 16    that, itself, placed strict restrictions on various dangerous weapons, including
 17    silencers—at least 15 states had imposed restrictions on the sale or possession of
 18    silencers. Comeaux, 2024 WL 115929, at *3.21
 19          20
                In Bruen, the Supreme Court focused its historical analysis on the periods
 20    surrounding the ratification of the Second and Fourteenth Amendments, specifically
       rejecting the probative value of public carry laws passed in the twentieth century as
 21    contradictory of evidence from those earlier times. See Bruen, 597 U.S. at 66 n.28.
 22    Because there is no such contradiction with respect to dangerous and unusual
       weapons regulations, restrictions on newly invented twentieth century weaponry,
 23    including silencers, are relevant here. Cf. Rahimi, 2024 WL 3074728, at *22
 24    (Kavanaugh, J., concurring) (Where “reasonably consistent and longstanding,”
       “post-ratification history—sometimes referred to as tradition—can also be
 25
       important for interpreting vague constitutional text and determining exceptions to
 26    individual constitutional rights.”).
 27
             21
                Among other weapons, the National Firearms Act banned possession of
       fully automatic machineguns. See Garland v. Cargill, __ U.S. __, 2024 WL
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                                   Defendant’s Memorandum of Points and Authorities in Support of
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   1          California’s prohibition on silencers is “relevantly similar” to this unbroken
   2   history of restrictions on possession and use of particular weapons as they emerged
   3   and threatened public safety. Bruen, 597 U.S. at 29; see id. at 21; see also Ocean
   4   State Tactical, LLC v. Rhode Island, 95 F.4th 38, 44-48 (1st Cir. 2024) (concluding
   5   historical regulations of particularly dangerous weapons were “relevantly similar”
   6   to modern bans on large-capacity magazines). To the extent California Penal Code
   7   section 33410 imposes any burden at all on the right to armed self-defense, that
   8   burden is no greater than that imposed by the historical analogues detailed above
   9   because it restricts possession of a particularly dangerous item, but otherwise
 10    allows law-abiding citizens access to a range of other weapons to exercise their
 11    right to armed self-defense. See Bruen, 597 U.S. at 29. The prohibition’s
 12    justification is likewise “comparable” to this body of historical regulations because,
 13    like these analogues, the prohibition turns on the unique dangerousness of the
 14    regulated item, especially when used for criminal purposes. Id. Indeed, as
 15    explained above, the innate characteristics and function of a silencer implicate a
 16    substantially heightened risk of lethality when used as designed with a functioning
 17    firearm because it helps conceal the shooter’s location and the fact that shots have
 18    been fired. Comeaux, 2024 WL 115929, at *3. The purpose of regulating silencers
 19    is thus highly analogous to the regulation of concealable weapons in the nineteenth
 20    century, which also “aimed at limiting what was viewed as a particularly dangerous
 21    feature of [pocket pistols]: their design as being readily concealable, which was
 22    viewed as rendering them more deadly.” Or. Firearms Fed’n, 682 F. Supp. 3d at
 23    906.
 24           Accordingly, the historical record demonstrates that California’s ban on
 25    silencers—to the extent it poses any burden on the right to armed self-defense—is
 26    constitutionally permissible. Bruen, 597 U.S. at 26-31. Plaintiff’s Second
 27
 28    2981505, at *3 (June 14, 2024).
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                                    Defendant’s Memorandum of Points and Authorities in Support of
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   1   Amendment challenge to California’s restrictions on silencers thus fails as a matter
   2   of law.
   3                                     CONCLUSION
   4        This Court should dismiss Plaintiff’s Complaint without leave to amend.
   5   Dated: June 24, 2024                          Respectfully submitted,
   6                                                 ROB BONTA
                                                     Attorney General of California
   7                                                 R. MATTHEW WISE
                                                     JOHN D. ECHEVERRIA
   8                                                 Supervising Deputy Attorneys General
   9
 10
                                                     KEVIN L. QUADE
 11                                                  Deputy Attorney General
                                                     Attorneys for Defendant Attorney
 12                                                  General Rob Bonta
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                                  Defendant’s Memorandum of Points and Authorities in Support of
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